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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
J.G.G., et al.,                       )
                                      )
       Plaintiffs,                    )
                                      )
v.                                    ) No. 1:25-cv-00766-JEB
                                      )
DONALD J. TRUMP, et al.,              )
                                      )
       Defendants.                    )

                                    NOTICE OF APPEAL

       Defendants hereby appeal from the Court’s Order and Memorandum Opinion entered

April 16, 2025 (ECF Nos. 80 & 81) in the above-captioned case to the United States Court of

Appeals for the District of Columbia Circuit.

                                                 Respectfully submitted,

                                                 YAAKOV M. ROTH
                                                 Acting Assistant Attorney General
                                                 Civil Division

                                                 DREW ENSIGN
                                                 Deputy Assistant Attorney General

                                                 By: s/ Ernesto H. Molina, Jr.
                                                 Ernesto H. Molina, Jr.
                                                 Deputy Director
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                                                 ATTORNEYS FOR DEFENDANTS


                                                 Dated: April 16, 2026
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants. There are no unregistered participants.

                                                      s/ Ernesto H. Molina, Jr.
                                                      ERNESTO H. MOLINA, JR.
                                                      Deputy Director
